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                            UNITED STATE DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

JOHN DOE,                     )
Plaintiff,                    )
                              )
v.                            )                No. 1:21-cv-00944-JL
                              )
TOWN OF LISBON and NEW        )
HAMPSHIRE DEPARTMENT )
OF JUSTICE                    )
Defendants.                   )
______________________________)

              PLAINTIFF’S OBJECTION TO NHDOJ’S MOTION TO DISMISS

          NOW COMES the Plaintiff, John Doe, by and through his counsel, Cooper Cargill

Chant, P.A., and hereby OBJECTS to Defendant New Hampshire Department of Justice’s

Motion to Dismiss the above-captioned matter, asserting that the Eleventh Amendment bars their

claims.

          In brief, the plaintiff argues: (1) in adopting RSA 105:13-d, the State of New Hampshire

waived its Eleventh Amendment immunity by requiring that the New Hampshire Department of

Justice be made a party to any action brought pursuant to RSA 105:13-d; and (2) alternatively, if

this Court lacks subject matter jurisdiction, this case should be either be remanded to the Grafton

Superior Court, instead of dismissal, or dismissed without prejudice, in favor of a substantially

identical case, Doe v. Town of Lisbon et ux, No. 1:22-cv-00043-SE. Plaintiff further states as

follows:

                                     COMPLAINT and FACTS

1.        Plaintiff has alleged, in brief, that Defendant Town of Lisbon (“Town”) improperly

          caused him to be listed on the Exculpatory Evidence Schedule (“EES”), generally a list of

          police officers found to have a credibility issue. Amended Complaint, at ¶¶ 12-40.
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2.    The EES is maintained by the New Hampshire Department of Justice (“NHDOJ”).

      Amended Complaint, at ¶¶ 30.

3.    Plaintiff generally seeks removal from the EES, which relief is sought against the Town

      and NHDOJ pursuant to RSA 105:13-d. Amended Complaint, passim.

4.    Moreover, Plaintiff has alleged that the Defendants Town of Lisbon and NHDOJ violated

      his substantive and procedural due process rights by, among other things, placing his

      name on the EES. Amended Complaint, at ¶¶ 41-58.

5.    Plaintiff further seeks damages and attorneys’ fees as against the Town for such actions.

                                  PROCEDURAL HISTORY

6.    This action was originally filed in state court (New Hampshire Superior Court) on

      September 2, 2021, as against the Town of Lisbon only. Document 1-6.

7.    Thereafter, on or about September 24, 2021, Section 2 of 2021 New Hampshire HB 471,

      codified at RSA 105:13-d, took effect, requiring in relevant part that the NHDOJ be

      named a party in any matter seeking an order finding that alleged underlying misconduct

      is not “potentially exculpatory.”

8.    On or about November 15, 2021, the Town removed the Action to this Court. Document

      1.

9.    On December 10, 2021, the plaintiff added NHDOJ as a party defendant to this action

      pursuant to RSA 105:13-d, as the plaintiff seeks an order finding that alleged underlying

      misconduct is not “potentially exculpatory.” See RSA 105:13-d.

10.   This motion to dismiss was filed on January 10, 2022.

11.   On January 19, 2022, the plaintiff filed a substantially identical action in State Court (the

      “Second Action”), including NHDOJ in the first instance, in part to avoid any procedural



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        defects relative to RSA 105:13-d taking effect after this action was originated in state

        court.

12.     On February 3, 2022, the Town removed the Second Action to this Court. See Doe v.

        Town of Lisbon et ux, No. 1:22-cv-00043-SE.



                                         STANDARD OF REVIEW

13.     The New Hampshire Department of Justice (“NHDOJ”) essentially raises two distinct

        theories in favor of dismissal: (1) that this court lacks subject jurisdiction over Plaintiff’s

        claims against NHDOJ (Motion to Dismiss, ⁋⁋ 16, 25, 30); and (2) that 42 U.S.C. § 1983

        is not applicable to agencies such as NHDOJ (Motion to Dismiss, ⁋ 22). 1 The

        jurisdictional argument applies to all claims against NHDOJ.

14.     Motions to dismiss based on lack of subject matter jurisdiction are made pursuant to Rule

        12(b)(1). In deciding a motion to dismiss on this ground, the court “accept [ ] the well-

        pleaded factual allegations of the plaintiff’s complaint and indulge[ ] all reasonable

        inferences in the plaintiff’s favor.” Bernardo ex rel. M & K Eng’g, Inc. v. Johnson, 814

        F.3d 481, 483 (1st Cir. 2016) (quoting Dominion Energy Brayton Point, LLC v. Johnson,

        443 F.3d 12, 16 (1st Cir.2006). “[T]he burden of establishing jurisdiction must fall to the

        party who asserts it.” Woo v. Spackman, 988 F.3d 47, 53 (1st Cir. 2021).

15.     Although a motion for remand on other grounds must be made within thirty days of the

        notice of removal, a federal district court “shall” remand a case “[i]f at any time before




1
 Plaintiff’s decision not to address NHDOJ’s argument is not intended as a waiver, merely a concession to the court
for the sake of judicial economy. If, as NHDOJ argues, this Court lacks subject matter jurisdiction to hear any of
Plaintiff’s claims against NHDOJ, clearly the Court cannot reach the issue of whether§ 1983 is applicable.


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      final judgment it appears that the district court lacks subject matter jurisdiction”.

      (Emphasis added.) 28 U.S. Code § 1447(c).



                                              ARGUMENT

      I.       Subject Matter Jurisdiction

16.   NHDOJ argues that the Eleventh Amendment to the United States Constitution deprives

      this Court of subject matter jurisdiction as to every claim raised against NHDOJ in

      Plaintiff’s complaint. NHDOJ also argues that declaratory relief and mandamus are

      unavailable, but those arguments are merely reiterations of the argument that this Court

      lacks subject matter jurisdiction. See Motion to Dismiss, ⁋⁋ 25, 30.

17.   The Eleventh Amendment proscribes “suit[s] in federal court in which a state or one of

      its agencies or departments is named as defendant”, but only if the State has not

      consented to the suit. Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100

      (1984). A state may waive its immunity, either case-by-case or “by statute or the like”.

      Metcalf & Eddy, Inc. v. Puerto Rico Aqueduct & Sewer Auth., 991 F.2d 935, 938 (1st Cir.

      1993).

18.   Federal courts will only hold that a state has waived immunity by statute if the text of the

      statute “leave[s] no room for any other reasonable construction.” Edelman v. Jordan, 415

      U.S. 651, 673 (1974) (quoting Murray v. Wilson Distilling Co., 213 U.S. 151, 171

      (1909)).

19.   As recently enacted, RSA 105:13-d requires that NHDOJ be named as a party in “[a]ny

      claim seeking an order finding that the underlying misconduct is not potentially




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      exculpatory.” Notably, the statute does not differentiate between claims brought in, or

      subsequently removed to, federal or state court.

20.   Because RSA 105:13-d specifically directs that a plaintiff file claims as against NHDOJ,

      the statute must be read to waive sovereign immunity in cases filed pursuant to RSA

      105:13-d – it is directly a Legislative consent to be sued in these circumstances, and

      therefore effects a waiver. See Sossamon v. Texas, 563 U.S. 277, 285 (2011); John H. v.

      Brunelle, 127 N.H. 40, 43 (1985).

21.   Moreover, nowhere in the text of RSA 105:13-d does the Legislature specify the form of

      relief plaintiff must or should use to obtain relief pursuant to RSA 105:13-d. While

      presumably the relief obtainable against the NHDOJ, as an arm of the State, is limited to

      that provided by the state statute – i.e. a plaintiff’s removal from the EES – the statute

      must be interpreted to waive immunity with respect to causes of action that seek that

      relief, including alternative forms of relief such as pled by the plaintiff here. See RSA

      105:13-d. Id.

22.   Finally, where immunity would apply in both Federal and state forums, any alternative

      interpretation of RSA 105:13-d that did not waive immunity, but still required NHDOJ be

      added as a party, would effectively serve as a bar to all federal claims that stem from the

      same underlying transactions that led to an officer being improperly placed on the EES.

      Any law enforcement officer who has both a viable § 1983 against a superior officer who

      fabricated claims of misconduct and a viable claim that he does not belong on the EES

      because the underlying conduct was not exculpatory would have to chose one claim or

      the other or risk NHDOJ filing this very motion.




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23.   Moreover, the EES covers “exculpatory evidence that must be disclosed to the defendant

      under the State and Federal Constitutions,” as opposed to other discoverable information

      in personnel files. (Emphasis added.) Duchesne v. Hillsborough Cty. Att’y, 167 N.H. 774,

      781, 119 A.3d 188, 195 (2015).

24.   Because section 105:13-d can only reasonably be read to waive sovereign immunity in all

      cases where a plaintiff seeks an order challenging whether the underlying conduct in the

      EES is exculpatory, this Court should deny NHDOJ’s motion to dismiss for lack of

      subject matter jurisdiction.

      II.      Remand to Grafton Superior Court or Dismissal without Prejudice

25.   Alternatively, if the Eleventh Amendment does, in fact, deprive this Court of subject

      matter jurisdiction, the proper remedy is not dismissal but remand to the Grafton Superior

      Court.

26.   Although a motion for remand on other grounds must be made within thirty days of the

      notice of removal, a federal district court “shall” remand a case “[i]f at any time before

      final judgment it appears that the district court lacks subject matter jurisdiction”.

      (Emphasis added.) 28 U.S. Code § 1447(c). See, also, Langford v. Gates, 610 F. Supp.

      120, 122-23 (D.C.Cal.1985) (lack of standing is a jurisdictional defect, and “the proper

      course is remand not dismissal”).

27.   The language of § 1447(c) is mandatory, and the district court has “no discretion to

      dismiss rather than remand an action” where it lacks subject matter jurisdiction. Maine

      Ass’n of Interdependent Neighborhoods v. Comm’r, Maine Dep’t of Hum. Servs., 876

      F.2d 1051, 1054 (1st Cir. 1989).




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28.      Even if the district court had such discretion, dismissal would only be appropriate where

         the court can “say with absolute certainty that remand would prove futile.” Id. NHDOJ

         has made no argument that remand would be futile. In fact, the primary gist of NHDOJ’s

         motion is that the Grafton Superior Court—rather than this Court—is the proper forum

         for this action.

29.      Assuming, without conceding, that this court lacks subject matter jurisdiction to hear any

         of the claims against NHDOJ, this Court should remand the case to the Grafton Superior

         Court.

30.      Alternatively, because plaintiff has now filed the Second Action, the more efficient action

         would likely be a dismissal of this action without prejudice, for disposition of these

         claims in the Second Action with a cleaner procedural course that does not include the

         intervening effective date of the central statute, RSA 105:13-d.

31.      A memorandum is unnecessary as the relevant facts and citations of law are included in

         this Objection.

         WHEREFORE, the Plaintiff respectfully requests that this Honorable Court:

      1. Deny Defendant New Hampshire Department of Justice’s Motion to Dismiss; or,

         alternatively,

      2. Remand this case to the Grafton Superior Court pursuant to 28 U.S. Code § 1447(c); or

         alternatively

      3. Dismiss this Action without prejudice; and

      4. Grant such further relief as is deemed appropriate.




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                                            Respectfully submitted,

                                            PLAINTIFF,
                                            JOHN DOE,
                                            By His Attorneys,

                                            COOPER CARGILL CHANT, P.A.

       02/03/2022                           /s/ Christopher T. Meier
Dated: ____________
                                            Christopher T. Meier, Bar ID # 17136
                                            2935 White Mountain Highway
                                            North Conway, New Hampshire 03860
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                                CERTIFICATE OF SERVICE

      I, Christopher T. Meier, hereby certify that on the date shown, I delivered the foregoing
document to all parties and counsel of record by e-file.


       02/03/2022                           /s/ Christopher T. Meier
Dated: ____________
                                            Christopher T. Meier, Bar ID # 17135




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